 8:03-cr-00313-JFB-FG3            Doc # 90   Filed: 11/10/05   Page 1 of 3 - Page ID # 677




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:03CR313
                     Plaintiff,               )
                                              )
              v.                              )
                                              )         MEMORANDUM AND ORDER
JOSE ANTONIO RAMIREZ-CORTEZ,                  )
                                              )
                     Defendants.              )
                                              )


       This matter is before the court for initial review of the defendant’s “Motion Under 28

USC § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody”

(§ 2255 motion) (Filing No. 88), and review of defendant’s Motion for Leave to Proceed In

Forma Pauperis (Filing No. 89).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a ' 2255 motion, and describes the initial review

process:

       The motion, together with all the files, records, transcripts, and
       correspondence relating to the judgment under attack, shall be examined
       promptly by the judge to whom it is assigned. If it plainly appears from the
       face of the motion and any annexed exhibits and the prior proceedings in the
       case that the movant is not entitled to relief in the district court, the judge
       shall make an order for its summary dismissal and cause the movant to be
       notified. Otherwise, the judge shall order the United States Attorney to file
       an answer or other pleading within the period of time fixed by the court or to
       take such other action as the judge deems appropriate.

       After a plea of guilty to Count I of the Indictment charging defendant with knowingly

and intentionally possessing with the intent to distribute 50 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, in violation of 21 U.S.C.

§§ 841 (a)(1) and 841 (b)(1), this court sentenced defendant to 121 months in the custody
 8:03-cr-00313-JFB-FG3        Doc # 90     Filed: 11/10/05     Page 2 of 3 - Page ID # 678




of the Bureau of Prisons followed by 5 years supervised release (Filing No. 63). The

defendant did not file a direct appeal.

       The claims raised in the defendant’s § 2255 motion are barred by the statute of

limitations established by the Antiterrorism and Effective Death Penalty Act of 1996

(“AEDPA”). As amended by the AEDPA, 28 U.S.C. § 2255 imposes a one-year statute

of limitations on § 2255 motions, stating in pertinent part:

       A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of -

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by
       governmental action in violation of the Constitution or laws of the United
       States is removed, if the movant was prevented from making a motion by
       such governmental action;

       (3) the date on which the right asserted was initially recognized by the
       Supreme Court, if that right has been newly recognized by the Supreme
       Court and made retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented
       could have been discovered through the exercise of due diligence.

       Absent a later triggering date under subsections (2)-(4) above, the one-year period

for filing a § 2255 motion in federal court begins to run on the date the challenged

judgment becomes final, i.e., upon conclusion of direct review or at the end of the time for

seeking such review. Because neither party filed a direct appeal, the defendant’s judgment

and conviction became final on or about March 26, 2004 when the time for filing a notice

of appeal expired. One year later the statute of limitations expired on or about March 26,

2005. The defendant did not file his § 2255 motion until September 9, 2005, more than

five months after the expiration of the statute of limitations. Furthermore, the defendant


                                              2
 8:03-cr-00313-JFB-FG3        Doc # 90    Filed: 11/10/05     Page 3 of 3 - Page ID # 679




has not set forth any arguments supporting invocation of the equitable tolling doctrine, even

if the doctrine were found to apply in the § 2255 context. United States v. Bell, 2003 WL

21523470, at **1 (8 th Cir. July 2, 2003), cert. denied, 540 U.S. 1202 (2004).

       IT IS ORDERED:

       1.     Defendant’s “Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

Sentence by a Person in Federal Custody” (Filing No. 88) is denied;

       2.     The defendant’s Motion for Leave to Proceed In Forma Pauperis (Filing No.

89) is denied as moot;

       3.     A separate Judgment will be issued; and

       4.     The Clerk is directed to mail a copy of this Memorandum and Order to the

defendant at his last known address.

       DATED this 10th day of November, 2005.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge




                                              3
